Fill in this information to identify the case:

Debtor 1              Anthony E Heindl, Jr.

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the : Middle                   District of Pennsylvania
                                                                             (State)

Case number           1:20-bk-01345-HWV



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

Name of creditor:              M & T Bank                                         Court claim no. (if known):         6

Last four digits of any number you                XXXXXX7450                      Date of payment change:
use to identify the debtor’s account:                                             Must be at least 21 days after date of             12/1/2021
                                                                                  this notice

                                                                                  New total payment:
                                                                                  Principal, interest, and escrow, if any            $844.37

Part 1:         Escrow Account Payment Adjustment

1.     Will there be a change in the debtor’s escrow account payment?
        No
        Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
          for the change. If a statement is not attached, explain why: __________________________________________________________
          ___________________________________________________________________________________________________
           Current escrow payment:            $ 345.64                                    New escrow payment :            $ 373.49

Part 2:         Mortgage Payment Adjustment

2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
       variable-rate account?
        No
        Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
          explain why: ___________________________________

             Current interest rate:                       %                               New interest rate:          %

             Current principal and interest payment:      $ _________                     New principal and interest payment:         $ __________

Part 3:         Other Payment Change
3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      No
      Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
        (Court approval may be required before the payment change can take effect.)


           Reason for change: ____________________________________________________________________________


           Current mortgage payment:               $ _________                            New mortgage payment:             $ _________




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 Debtor 1            Anthony E Heindl, Jr.                                          Case number (if known) 1:20-bk-01345-HWV
                    First Name Middle Name    Last Name


Part 4:         Sign Here

The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
telephone number.
Check the appropriate box.

     I am the creditor.
     I am the creditor’s authorized agent

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
knowledge, information, and reasonable belief.
X    /s/Phillip Raymond                                                                Date     11/04/2021
     Signature

Print:         Phillip                                          Raymond                Title   Authorized Agent for Creditor
               First Name            Middle Name                Last Name

Company        McCalla Raymer Leibert Pierce, LLC

Address        1544 Old Alabama Road
               Number      Street
               Roswell                       GA                  30076
               City                          State               ZIP Code

Contact phone      732-692-6872                                                        Email    Phillip.Raymond@mccalla.com




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                                                       Bankruptcy Case No.: 1:20-bk-01345-
                                                                           HWV
 In Re:                                                Chapter:             13
          Anthony E Heindl, Jr.                        Judge:              Henry W. Van Eck

                                   CERTIFICATE OF SERVICE

      I, Phillip Raymond, of McCalla Raymer Leibert Pierce, LLC, 1544 Old Alabama Road,
Roswell, GA 30076, certify:

          That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Anthony E Heindl, Jr.
7 Pinewood Circle
Hanover, PA 17331

Stephen Wade Parker                            (served via ECF Notification)
Etzweiler and Withers LLC
105 N. Front Street
Suite 100
Harrisburg, PA 17101

Jack N Zaharopoulos (Trustee)                  (served via ECF Notification)
Standing Chapter 13 Trustee
8125 Adams Drive, Suite A
Hummelstown, PA 17036

United States Trustee                          (served via ECF Notification)
228 Walnut Street, Suite 1190
Harrisburg, PA 17101

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

Executed on:       11/08/2021       By:    /s/Phillip Raymond
                    (date)                 Phillip Raymond
                                           Authorized Agent for Creditor




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